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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

CITIZENS INSURANCE COMPANY of                        )
AMERICA, a Michigan corporation; and                 )
                                                     )
                                                     )
                              Plaintiff,             )
                                                     )
vs.                                                  )       Civil Action No.:
                                                     )
FRANCESCA’S MIDWEST HOLDINGS, INC.                   )
 an Illinois corporation; and SANTIAGO               )
MONARREZ, individually and on behalf of all          )
others similarly situated,                           )
                                                     )
                              Defendants.            )

                      COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Citizens Insurance Company of America (“Citizens”), by and through its counsel

of record, and for its Complaint against Defendants Francesca’s Midwest Holdings, Inc.

(“Francesca”) and Santiago Monarrez (“Monarrez”), states as follows:

                                       INTRODUCTION

       1.      This is an insurance coverage dispute between Citizens and Francesca. Citizens

issued Commercial Lines Policies to Francesca that contain a General Liability Coverage Part and

a Cyber Liability Coverage Part. In this action, Citizens seeks a declaration that it has no duty to

defend or indemnify Francesca under the Policies in connection with the underlying putative class

action suit captioned Monarrez v. Mia Francesca dba Francesca’s Restaurant Group, Case No.

21 CH 00371, filed in the Circuit Court of Cook County, Illinois.

                          PARTIES, JURISDICTION AND VENUE

       2.      Jurisdiction in this matter is based upon diversity of citizenship pursuant to 28

U.S.C. §1332(a)(1).



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        3.      Plaintiff, Citizens, is a corporation organized under the laws of the State of

Michigan, with its principal place of business in Worcester, Massachusetts.

        4.      Defendant, Francesca, is a corporation organized under the laws of the state of

Illinois, with its principal place of business in Des Plaines, Illinois.

        5.      Defendant, Monarrez, is a citizen of the State of Illinois. Monarrez is joined in this

suit as a nominal party defendant.

        6.      The Monarrez Lawsuit for which Francesca seeks a defense and indemnity is a

putative class action. The Citizens Policies have Limits of Liability of $1 million for Personal and

Advertising Injury, $2 million in the General Aggregate, and a $50,000 Privacy and Security

Liability Limit.

        7.      Diversity jurisdiction exists because: (a) there is complete diversity of citizenship

between Plaintiff Citizens and Defendants Francesca and Monarrez and (b) the amount in

controversy, including the potential costs of both defending and indemnifying Francesca

substantially exceeds $75,000.

        8.      Venue is appropriate under 28 U.S.C. § 1391 because the making of the insurance

contract at issue, which forms the basis of this action occurred in the Northern District of Illinois.

                                   FACTUAL BACKGROUND

    A. The Policies

        9.      Citizens issued the following Commercial Lines Policies to Francesca:

                   No. ZBC D934418 00, effective June 1, 2019 to June 1, 2020 (the “2019 Policy”);

                   No. ZBC D934418 01, effective June 1, 2020 to June 1, 2021 (the “2020 Policy”).




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(the “Citizens Policies”). A true and correct copy of the Citizens Policies are attached hereto as

Exhibits A-B, respectively.

       10.        Both of the Citizens Policies contain a General Liability Coverage Part that has

Limits of Liability of $1 million for Personal and Advertising Injury and $2 million in the

Aggregate. The 2019 Policy also has a Cyber Liability Coverage Part that has a $50,000 Maximum

Aggregate Limit of Liability, subject to a $5,000 Deductible. The 2020 Policy does not contain a

Cyber Liability Coverage Part.

   B. The Monarrez Lawsuit

       11.        On January 26, 2021, Monarrez, individually and on behalf of all others similarly

situated, filed a putative class action against Mia Francesca dba Francesca’s Restaurant Group

(“Mia Francesca”), bearing Case No. 21 CH 00371, in the Circuit Court of Cook County, Illinois

(the “Monarrez Lawsuit”). A true and correct copy of the Complaint filed in the Monarrez Lawsuit

is attached hereto as Exhibit C.

       12.        The Complaint alleges that Francesca is a Restaurant Franchise with locations

throughout Illinois, and that when employees first begin their jobs at certain Francesca locations,

they are required to scan their fingerprint in its biometric time tracking system as a means of

authentication.

       13.        According to the Complaint, Francesca disregarded its employees' statutorily

protected privacy rights and unlawfully collects, stores, and uses their biometric data in violation

of the Illinois Biometric Information Privacy Act (“BIPA”).

       14.        Specifically, the Complaint alleges that Francesca has violated (and continues to

violate) the BIPA because it did not: properly inform Plaintiff and the Class members in writing

of the specific purpose and length of time for which their fingerprints were being collected, stored,



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and used. as required by the BlPA; provide a publicly available retention schedule and guidelines

for permanently destroying Plaintiffs and the Class's fingerprints , as required by the BlPA; nor

receive a written release from Plaintiff or the members of the Class to collect, capture, or otherwise

obtain fingerprints, as required by the BIPA.

       15.     The Complaint contains one count alleging violations of BIPA.

                          COUNT I – DECLARATORY JUDGMENT

              (Cyber Liability Coverage – No Claim Made During 2019 Policy)

       16.     Plaintiffs adopt and repeat the allegations of Paragraph 1 through 15 as and for

Paragraph 16, as though the same were fully set forth herein.

       17.     The Insuring Agreement in the Cyber Liability Coverage Part of the 2019 Citizens

Policy provides:

               SECTION I – INSURING AGREEMENTS
               A. Privacy and Security Liability
               The “insurer” will pay on behalf of the “insured”,
               “loss” which the “insured” is legally obligated to pay due
                to a “claim” first made against the “insured” during the “policy period”,
                or Extended Reporting Period if applicable, and which arises
               out of a “Privacy Breach” or a “Security Breach” to which this insurance applies.

               B. Cyber Media Liability
               The “insurer” will pay on behalf of the “insured”,
               “loss” which the “insured” is legally obligated to
               pay due to a “claim” first made against the
               “insured” during the “policy period”, or Extended
               Reporting Period if applicable, and which arises
               out of a “Cyber Media Breach” to which this
               insurance applies.
                                        ***


       18.     The Policy defines “claim”, in relevant part, as:

               1. A written demand received by an “insured” for
               monetary damages or non-monetary relief
               including injunctive relief;

               2. Any complaint or similar pleading initiating a
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               judicial, civil, or administrative proceeding;
                                       ***

       19.     The Monarrez Lawsuit was filed against Francesca on January 26, 202.

       20.      The 2019-20 Policy expired on June 1, 2020.

       21.     Accordingly, the Monarrez Lawsuit is a “claim” that was first made against

Francesca on January 26, 2021, after the expiration of the 2019 policy period.

       22.     The Cyber Liability Coverage Part in the 2019 Citizens Policy, therefore, does not

actually or potentially provide coverage for the Monarrez Lawsuit.

       23.     The 2020 Policy does not contain a Cyber Liability Coverage Part.

       24.     As a result, Citizens has no defense or indemnity obligation for the Rodriguez

Lawsuit under the Cyber Liability Coverage Part of the 2019 Policy.

       WHEREFORE, Citizens respectfully requests that this Honorable Court declare that it has

no duty to defend or indemnify Francesca in connection with the Monarrez Lawsuit, and grant any

other relief that this Honorable Court deems just and equitable under the circumstances, including

the award of costs.

                         COUNT II – DECLARATORY JUDGMENT

                (General Liability Coverage – Insuring Agreement in Policies)

       25.     Plaintiffs adopt and repeat the allegations of Paragraph 1 through 15 as and for

Paragraph 25, as though the same were fully set forth herein.

       26.     The Personal and Advertising Injury Insuring Agreement in the General Liability

Coverage Part in the Citizens Policies provides, in pertinent part:

               1. Insuring Agreement

               a. We will pay those sums that the insured
               becomes legally obligated to pay as damages
               because of "personal and advertising injury" to
               which this insurance applies. We will have the

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                right and duty to defend the insured against
                any "suit" seeking those damages. However,
                we will have no duty to defend the insured
                against any "suit" seeking damages for
                "personal and advertising injury" to which this
                insurance does not apply. We may, at our
                discretion, investigate any offense and settle
                any claim or "suit" that may result. But:
                                          ***

                b. This insurance applies to "personal and
                advertising injury" caused by an offense arising
                out of your business but only if the offense was
                committed in the "coverage territory" during the
                policy period.


         27.    The Policies define “personal and advertising injury”, in relevant part, as injury,

including consequential “bodily injury”, arising out of one or more of the following offenses: ***

e. Oral or written publication, in any manner, of material that violates a person's right of privacy

*** .

         28.    The Monarrez Complaint does not allege any publication, and therefore, does not

allege “personal and advertising injury”.

         29.    The General Liability Coverage Parts in the Policies therefore do not actually or

potentially provide coverage for the Monarrez Lawsuit.

         30.    Citizens consequently has no defense or indemnity obligation for the Monarrez

Lawsuit under the General Liability Coverage Part of the Policies.

         WHEREFORE, Citizens respectfully requests that this Honorable Court declare that it has

no duty to defend or indemnify Francesca in connection with the Monarrez Lawsuit, and grant any

other relief that this Honorable Court deems just and equitable under the circumstances, including

the award of costs.




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                        COUNT III – DECLARATORY JUDGMENT

   (General Liability Coverage – Employment Practices Liability Exclusion in Policies)

       31.     Plaintiffs adopt and repeat the allegations of Paragraph 1 through 15 as and for

Paragraph 31, as though the same were fully set forth herein.

       32.     The Citizens Policies contain an Employment Practices Liability Exclusion

Endorsement, which states:

               B. The following exclusion is added to Paragraph 2., Exclusions of Section I – Coverage
               B – Personal And Advertising Injury Liability:

               This insurance does not apply to:

               "Personal and advertising injury" to:

                       (1) A person arising out of any:
                               (a) Refusal to employ that person;
                               (b) Termination of that person's employment; or
                               (c) Employment-related practices, policies,
                               acts or omissions, such as coercion, demotion,
                               evaluation, reassignment, discipline, defamation, harassment,
                               humiliation, discrimination or malicious prosecution directed
                               at that person; or
                                                        ***
                       This exclusion applies:
                               (1) Whether the injury-causing event described in Paragraphs (a), (b) or
                               (c) above occurs before employment, during employment or after
                               employment of that person;

                               (2) Whether the insured may be liable as an employer or in any other
                               capacity; and

                               (3) To any obligation to share damages with or repay someone else who
                               must pay damages because of the injury.


       33.     The Monarrez Complaint is brought by employees of Francesca and alleges that

Francesca violated its employees’s privacy by requiring them to provide their biometric

information for timekeeping purposes in violation of BIPA.




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       34.     As a result, even assuming the Monarrez Lawsuit alleged “personal and advertising

injury”, such injury arises out of any employment-related practices, policies, acts or omissions

such as coercion, demotion, evaluation, reassignment, discipline, defamation, harassment,

humiliation, discrimination or malicious prosecution, and coverage is precluded under the General

Liability Coverage Part of the Policies by reason of the Employment Practices Liability Exclusion.

       35.     The General Liability Coverage Part of the Policies do not actually or potentially

provide coverage for the Monarrez Lawsuit.

       36.     Accordingly, Citizens has no duty to defend and indemnify Francesca for the

Monarrez Lawsuit under the General Liability Coverage Part of the Citizens Policies.

       WHEREFORE, Citizens respectfully requests that this Honorable Court declare that it has

no duty to defend or indemnify Francesca in connection with the Monarrez Lawsuit, and grant any

other relief that this Honorable Court deems just and equitable under the circumstances, including

the award of costs.

                         COUNT IV– DECLARATORY JUDGMENT

      (General Liability Coverage – Recording and Distribution Exclusion in Policies)

       37.     Plaintiffs adopt and repeat the allegations of Paragraph 1 through 15 as and for

Paragraph 37, as though the same were fully set forth herein.

       38.     The Citizens Policies contain the following Exclusion:

               This insurance does not apply to:

               p. Recording And Distribution Of Material Or Information In Violation Of Law

               "Personal and advertising injury" arising
               directly or indirectly out of any action or
               omission that violates or is alleged to violate:
               (1) The Telephone Consumer Protection Act
               (TCPA), including any amendment of or
               addition to such law;
               (2) The CAN-SPAM Act of 2003, including any

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               amendment of or addition to such law;
               (3) The Fair Credit Reporting Act (FCRA), and
               any amendment of or addition to such law,
               including the Fair and Accurate Credit
               Transactions Act (FACTA); or
               (4) Any federal, state or local statute,
               ordinance or regulation, other than the
               TCPA, CAN-SPAM Act of 2003 or FCRA
               and their amendments and additions, that
               addresses, prohibits, or limits the printing,
               dissemination, disposal, collecting,
               recording, sending, transmitting,
               communicating or distribution of material or
               information.


       39.     The Monarrez Complaint alleges that Francesca violated BIPA, a state statute, that

addresses the printing, dissemination, disposal, collecting, recording, sending, transmitting,

communicating or distribution of material or information.

       40.     Thus, even assuming the Monarrez Complaint alleges “personal and advertising

injury”, such injury arises directly or indirectly out of any action or omission that violates or is

alleged to violate any federal, state or local statute, ordinance or regulation, other than the TCPA,

CAN-SPAM Act of 2003 or FCRA and their amendments and additions, that addresses, prohibits,

or limits the printing, dissemination, disposal, collecting, recording, sending, transmitting,

communicating or distribution of material or information.

       41.      Therefore, the Recording And Distribution Of Material Or Information In

Violation Of Law Exclusion precludes coverage for the Monarrez Lawsuit under the General

Liability Coverage Part of the Policies.

       42.     The General Liability Coverage Part of the Citizens Policies does not actually or

potentially provide coverage for the Monarrez Lawsuit.

       43.     As a result, Citizens has no duty to defend or indemnify Francesca against the

Monarrez Lawsuit.

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       WHEREFORE, Citizens respectfully requests that this Honorable Court declare that it has

no duty to defend or indemnify Francesca in connection with the Monarrez Lawsuit, and grant any

other relief that this Honorable Court deems just and equitable under the circumstances, including

the award of costs.

                        COUNT V– DECLARATORY JUDGMENT

          (General Liability Coverage – Access or Disclosure Exclusion in Policies)

       44.     Plaintiffs adopt and repeat the allegations of Paragraph 1 through 15 as and for

Paragraph 44, as though the same were fully set forth herein.

       45.     The Citizens Policies contain an Endorsement titled, “Exclusion – Access or

Disclosure of Confidential or Personal Information and Data-Related Liability – With Limited

Bodily Injury Exception, which provides, in relevant part:

       B. The following is added to Paragraph 2.
       Exclusions of Section I – Coverage B –
       Personal And Advertising Injury Liability:

       2. Exclusions
       This insurance does not apply to:
       Access Or Disclosure Of Confidential Or Personal Information
       "Personal and advertising injury" arising out of
       any access to or disclosure of any person's or
       organization's confidential or personal
       information, including patents, trade secrets,
       processing methods, customer lists, financial
       information, credit card information, health
       information or any other type of nonpublic
       information.
       This exclusion applies even if damages are
       claimed for notification costs, credit monitoring
       expenses, forensic expenses, public relations
       expenses or any other loss, cost or expense
       incurred by you or others arising out of any
       access to or disclosure of any person's or
       organization's confidential or personal
       information.




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       46.     The Monarrez Complaint alleges Francesca collects its employees’ fingerprints in

violation of BIPA.

       47.     Therefore, even assuming it alleges “personal and advertising injury”, such injury

arises out of access to or disclosure of any person’s confidential or personal, non-public

information and coverage for the Rodriguez Lawsuit is precluded under the General Liability

Coverage Part of the Policies pursuant to the Access or Disclosure of Confidential or Personal

Information Exclusion.

       48.     The General Liability Coverage Part of the Citizens Policies do not actually or

potentially provide coverage for the Monarrez Lawsuit.

       49.     Accordingly, Citizens has no duty to defend or indemnify Francesca for the

Monarrez Lawsuit under the General Liability Coverage Part of the Policies.

       WHEREFORE, Citizens respectfully requests that this Honorable Court declare that it has

no duty to defend or indemnify Francesca in connection with the Monarrez Lawsuit, and grant any

other relief that this Honorable Court deems just and equitable under the circumstances, including

the award of costs.

                                             Respectfully submitted,

                                             Citizens Insurance Company of America



                                        By: /s/ Kelly M. Ognibene
                                           One of its Attorneys
Jeffrey A. Goldwater, Esq. (ARDC #6189014)
Kelly Ognibene, Esq. (ARDC #6297327)
Lewis Brisbois Bisgaard & Smith, LLP
550 West Adams Street, Suite 300
Chicago, Illinois 60661
312-345-1718
Jeffrey.Goldwater@lewisbrisbois.com
Kelly.Ognibene@lewisbrisbois.com

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